      Case
    Case    3:23-cv-00782-YY Document
         2:16-md-02740-JTM-MBN        6-408207
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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)                  )     MDL No. 16-2740
PRODUCTS LIABILITY LITIGATION                )
                                             )     SECTION: “H” (5)
                                             )
THIS DOCUMENT RELATES TO:                    )

Barbara Earnest, 16-17144


                                     ORDER

      IT IS ORDERED that the Court’s Minute Entry of September 5, 2019, (Doc.

8198) is AMENDED to reflect that Defendants’ MOTION in Limine to Preclude

Evidence and Argument that "Ongoing Alopecia" Data Observed in the Tax316 and

GEICAM 9805 Clinical Trials Presents Evidence of "Persistent," "Permanent," or

"Irreversible" Alopecia (Motion in Limine No. 25) (Rec. Doc. 7668) is DENIED for

reasons set forth on the record.

                      Signed this 10th day of September, 2019.



                        _________________________________
                      HONORABLE JANE TRICHE MILAZZO
                       UNITED STATES DISTRICT JUDGE
